              Case 17-10570-BLS   Doc 674-2   Filed 09/11/18   Page 1 of 9




                                     Exhibit A

                              Proposed Form of Order




DOGS DE:221031.1 10329/001
                Case 17-10570-BLS             Doc 674-2        Filed 09/11/18        Page 2 of 9



                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                            Chapter 11
In re:
                                                            Case No. 17-10570(BLS)
Bostwick Laboratories, Inc., et al.,l
                                                           (Jointly Administered)
                  Post-Effective Date Debtors.
                                                            Re: Docket No.

            ORDER GRANTING PLAN ADMINISTRATOR'S THIRD OMNIBUS
            (NON-SUBSTANTIVE)OB3ECTION TO CERTAIN(A)AMENDED
             AND SUPERSEDED CLAIMS AND(B)NO LIABILITY CLAIMS

         Upon consideration of the Plan Administrator's ThiNd Omnibus(Non-Substantive)

Objection to Certain (A)Amended and Superseded Claims and(B) No Liability Claims (the

"Objection")2; and this Court having jurisdiction to consider the Objection pursuant to 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order; and this Court having found that venue of

these Chapter 11 Cases and. the Objection in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and this Court having determined that this matter is a core proceeding pursuant to 28

U.S.C. § 157(b); and this Court having determined that the relief requested in the Objection is in

the best interests of the Debtors and their estates, their creditors and other parties in interest; and

this Court having determined that notice of the Objection was good and sufficient upon the

particular circumstances and that no other or further notice need be given; and upon the record

herein; and after due deliberation thereon and good and sufficient cause appearing therefor; it is

hereby:

         ORDERED, ADJUDGED,AND DECREED THAT:


'ThePost-Effective Date Debtors are thefollowing entities (last four digits of EIN in parentheses): (i) Bostwick
Laboratories, Inc., a Delaware corporation (3169); and (u)Bostwick Laboratories Holdings, Inc., a Delaware
corporation (1042). The current mailing address for the Post-Effective Date Debtors is James P. Carroll. as the Plan
Administrator, c/o Carroll Services LLC,4450 Bonita Beach Road, Suite 9, Bonita Springs, FL 34134.
2 All capitalized terms not defined herein shall have the meanings ascribed to them in the Objection.



DOCS I~1~221031.1 10329/00]
              Case 17-10570-BLS          Doc 674-2      Filed 09/11/18     Page 3 of 9




         1.     The Objection is GRANTED.

         2.     Each of the (i) Amended and Superseded Claims identified on Exhibit 1 attached

hereto under the heading "Scheduled or Filed Claim to be Disallowed," is disallowed and

expunged in full, and the claim number of the Claim to remain on the Claims Register is set forth

on Exhibit 1 under the heading labeled "Remaining Clairn Number," and (ii) No Liability Claims

identified on Exhibit 2 attached hereto under the heading "Claim/Schedule Number," is

disallowed and expunged in iuli.

         3.     Pursuant to Local Rule 3007-1(e), nothing in this Order shall be construed to

prejudice the rights of the Debtors, or any other party in interest to object to any Remaining

Claim on any other ground, including objection to classification or amount asserted.

         4.     The objection to each Claim addressed in the Objection constitutes a separate

contested matter as contemplated by Bankruptcy Rule 9014. This Order shall be deemed a

separate order with respect to each claim. Any stay of this Order pending appeal by any of the

claimants subject to this Order shall only apply to the contested matter that involves such

claimant and shall not act to stay the applicability and/or finality ofthis Order with respect to the

other contested matters covered hereby.

         5.      The Court shall retain jurisdiction over all affected parties to determine any

matters, claims, or rights arising from or related to the implementation and interpretation of this

Order.

Dated:                   ,2018
         Wilmington, Delaware
                                              HONORABLE BRENDAN LIN~HAN SHANNON
                                              UNITED STATES BANKRUPTCY JUDGE




                                                  -2-
UOCS DG221031.1 10329/001
               Case 17-10570-BLS    Doc 674-2   Filed 09/11/18   Page 4 of 9



                                        Exhibit 1

                              Amended and Superseded Claims




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  ~ ~i 'art                            +~~~zim        ~'laim~    ~`z~~t~ +Claim tc~  Ctai~n
                                      ~iume~r        ~.mo~~tt    b~ Ais~l~~o~wet~   Ama~nt


  IntrinsiQ            Bostwick         152        $7,729.70           ~p         $7,047.70      The Claim has been amended and
  Specialty.         Laboratories,                                                                 superseded by Clairn #152.
Solutions, Inc.          Inc.


  IntrinsiQ            Bostwick          152       $7,729.70           gl          $682.00       The Claim has been amended and
  Specialty          Laboratories,                                                                 superseded by Claim #152.
                                                                                                                                         Case 17-10570-BLS




Solutions, Inc.          Inc.


  IntrinsiQ            Bostwick          152        $7,729.70          82         $7,729.70      The Claim has been amended and
  Specialty          Laboratories,                                                                 superseded by Clairr~ #152.
                                                                                                                                         Doc 674-2




Solutions, Inc.          Inc.


   Lab Corp            Bostwick         28         $14,13334         3.107        $13,775.45     The Debtors scheduled "Lab Corp
Esoterix Genetic     Laboratories,                                                              Bsoterix Genetic Laboratories LLC"
  Laboratories           Inc.      (Laboratory                                                    in the amount of $13,775.45. On
      LLC                          Corporation                                                        May 3, 2017,"Laboratory
                                                                                                                                         Filed 09/11/18




                                   of America)                                                     Corporation of America" filed a
                                                                                                 proof of claim seeking payment of
                                                                                                X14,133.34. T11e supporting invoice
                                                                                                  data for the filed proof of claim is
                                                                                                  included in the scheduled amount.
                                                                                                                                         Page 5 of 9




                                                                                                 By operation of Rule 3003(c)(4} of
                                                                                                   the Federal Rules of Bankruptcy
                                                                                                 Procedure, the scheduled amount is
                                                                                                   superseded by the proof of claim



DOCS DE221031.1 10329/001
                                                                                                     amount.


StatLab Medical        Bostwick          13          $39,14726    3.202   $38,799.87     The Debtors scheduled "StatLab
 Products Inc.       Laboratories,                                                     Medical Products Inc." in the amount
                         Inc.         (SLMP,                                             of $38,799.87. On May 7, 2017,
                                       LLC}                                            "SLMP,LLC"filed a proof of claim
                                                                                       seeking payment of $39,147.26. The
                                                                                        supporting invoice data for the filed
                                                                                       proof of claim amount is included in
                                                                                       tlhe scheduled amount. Sy operation
                                                                                         of Rule 3003(c)(4) ofthe Federal
                                                                                                                                Case 17-10570-BLS




                                                                                        Rules of Bankruptcy Procedure, the
                                                                                        scheduled amount is superseded by
                                                                                             the proof of claim amount.
                                                                                                                                Doc 674-2




 Well Cornell          Bostwick          34          $24,375.00   3.239   $24,375.00 The Debtors scheduled "Well Cornell
  Medicine           Laboratories,                                                        Medicine" in the amount of
                         Inc.          (NZ'H-                                           $24,375.00. On May 11, 2017,
                                        CUMC                                          "NYH-CUMC Pathologists" filed a
                                     Pathologists)                                     proof of claim seeking payment of
                                                                                      624,375.00. The supporting invoice
                                                                                        data for the filed proof of claim
                                                                                                                                Filed 09/11/18




                                                                                      amount is included in the scheduled
                                                                                         amount. By operation of Rule
                                                                                       3003(c)(4) ofthe Federal Rules of
                                                                                     Bankruptcy Procedure, the scheduled
                                                                                     amount is superseded by the proof of
                                                                                                                                Page 6 of 9




                                                                                                 claim amount.




DOCS DE221031.1 10329/001
               Case 17-10570-BLS   Doc 674-2     Filed 09/11/18   Page 7 of 9




                                        Exhibit 2

                                   No I..iabitity Claims




UOCS DE:221031.1 10329/001
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                                 l'~~nc~ber                Clait~


     Patrick Bousseaux              120             $1,200.00(General        Upon information and belief and pursuant to Debtors'
                                                     Unsecured Claim)            books and records, claim number 120 is not
                                                                               enforceable against the Debtors or theix property
                                                                               under any agreement or applicable law. Further,
                                                                               there is no supporting documentation attached to
                                                                                               claim number 120.
                                                                                                                                     Case 17-10570-BLS




        Jason Brewer                88              $1,376.28 (General       Upon information .and belief and pursuant to Debtors'
                                                     Unsecured Claim)             books and records, claim number 88 is not
                                                                               enforceable against the Debtors or their property
                                                                               under any agreement or applicable law. Further,
                                                                               there is no supporting documentation attached to
                                                                                                                                     Doc 674-2




                                                                                               claim number 88.


   James Richard Hill, Jr.          118              $2,147.00(General       Upon information and belief and pursuant to Debtors'
                                                      Unsecured Claim)           books and records, claim number 118 is not
                                                                               enforceable against the Debtors or their property
                                                                               under any agreement or applicable law. Further,
                                                                                                                                     Filed 09/11/18




                                                                               there is no supporting documentation attached to
                                                                                               claim number 118.


Hinshaw &Culbertson, LLP            126             $50,000.00(General       Upon information and belief and pursuant to Debtors'
                                                                                                                                     Page 8 of 9




                                                     Unsecured Claim)            books and records, claim number 126 is not
                                                                               enforceable against the Debtors or their property
                                                                                   under any agreement or applicable Iaw.




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          Aldo Suraci        47   Unliquidated (General   Upon information and belief and pursuant to Debtors'
                                    Unsecured Claim)           books and records, claim number 47 is not
                                                            enforceable against the Debtors or their property
                                                            under any agreement or applicable law. Further,
                                                            there is no supporting documentation attached to
                                                                            claim number 47.
                                                                                                                 Case 17-10570-BLS
                                                                                                                 Doc 674-2
                                                                                                                 Filed 09/11/18
                                                                                                                 Page 9 of 9




DOGS DE221031I.1 10329/001
